Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 1 of 18

HIGHLY SENSITIVE DOCUMENT

 

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

Criminal No. Sf- /0/46 - ¥ NG

UNITED STATES OF AMERICA

Violations:
v.
Count One: Conspiracy to Gain Unauthorized
Access to Computers, and to Commit Wire
Fraud and Securities Fraud

(18 U.S.C. § 371)

MIKHAIL VLADIMIROVICH IRZAK,
alk/a “Mikka Irzal,”

and

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IGOR SERGEEVICH SLADKOV, Moke wo: Securities Fraud; Aiding and

(15 U.S.C. §§ 78j(b) and 78ff{a); 17 CFR.
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Defendants § 240.10b-5; 18 U.S.C. § 2)

Forfeiture Allegation:
(18 ULS.C. §§ 981 (ay(1)(C) and 28 U.S.C.
§ 2461(c))

Computer Intrusion Forfeiture Allegation:
18 U.S.C. §§ 982(a)(2)(B) and 1030(%)
INDICTMENT
At all times relevant to this Indictment:
General Allegations
1. Defendant MIKHAIL VLADIMIROVICH IRZAK, also known as “Mikka Irzak,”
was a Russian citizen who resided in St. Petersburg, Russia.
2s Defendant IGOR SERGEEVICH SLADKOV was a Russian citizen who resided in
St. Petersburg. Russia.
a IRZAK had a brokerage account in his own name at Financial Services Company

A, axetail brokerage firm with operations in the United States. IRZAK and SLADKOV also
Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 2 of 18

HIGHLY SENSITIVE DOCUMENT

Denmark-based investment bank that specializes in online trading. SLADKOV held brokerage

accounts in his own name at Financial Services Company ( which operates in Cyntne and Rusia

4A. Co-Conspirator 1 (CC-1) was a Russian citizen who resided in Moscow, Russia.
CC-1 was employed as a deputy general director of M-13, a company based in Moscow that
purported to offer information technology and media monitoring services, including monitoring
and analytics of media and social media messages, cyber security consulting, and penetration
testing. Penetration testing, also called pen testing, is an authorized, simulated cyberattack that is
used to evaluate an organization’s ability to protect its computer systems, networks, and
applications. A pen test looks for exploitable vulnerabilities in a computer system that could be
leveraged by a hacker to gain unauthorized access to the system.

Bis According to M-13’s website, the company also provided “Advanced persistent
threat (APT) Emulation” services that it described as the “most sound and modern method of
testing and analyzing the infrastructure’s security.” The website explained: “Our experts imitate
a full-scale targeted attack, during which the attacker, while trying to conceal his presence, uses 4
wide range of actions against the organization’s infrastructure.” The website further indicated
that the company’s “IT solutions” were used by “the Administration of the President of the Russian

Federation, the Government of the Russian Federation, federal ministries and departments,

regional state executive bodies, commercial companies and public organizations.”

6. Filing Agent 1 and Filing Agent 2 were companies operating in the United States
that, among other services, provided their clients with secure technology and communications
platforms for preparing and submitting regulatory filings to the U.S. Securities and Exchange

2
Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 3 of 18

HIGHLY SENSITIVE DOCUMENT

Commission (SEC). The clients of Filing Agent | and Filing Agent 2 were public companies, the

securities of which were traded on national securities exchanges in the United States.

% The New York Stock Exchange (the NYSE) and the NASDAQ Stock Market (the
NASDAQ) were national securities exchanges in the United States.

8. The SEC was an independent agency of the executive branch of the United States
government that was responsible for enforcing federal securities laws and promulgating rules and
regulations thereunder.

9. Under United States securities laws, publicly traded companies must regularly
disclose their financial performance to the SEC, and, through the SEC, to the general public. For
example, publicly traded companies are generally required to file quarterly financial reports after
each of the first three quarters of the fiscal year on SEC Form 10-Q, and to file an annual report of
their financial performance, including audited financial statements, after the end of the final quarter
of the fiscal year, on SEC Form 10-K. In addition, publicly traded companies are required to file
periodic “current reports” (on SEC Form 8-K) disclosing events of significance to shareholders.

10. Many reporting companies provide these financial reports to filing agents, such as
Filing Agent 1 and Filing Agent 2, which file them electronically via the SEC’s Electronic Data

Gathering, Analysis and Retrieval system, commonly known as EDGAR. In order to make these

EDGAR filings on behalf of their clients, filing agents first receive and store the companies’
financial results on their own secure, internet-connected computer networks. Prior to their filing

and public disclosure, the results are considered highly confidential business information.
Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 4 of 18

HIGHLY SENSITIVE DOCUMENT
Overview of the Conspiracy and the Scheme to Defraud

11. Beginning at least as early as February 2018 and continuing through at least
September 2020, the defendants, IRZAK and SLADKOV, conspired with one another, with CC-
1, and with others known and unknown to the Grand Jury to obtain unauthorized access to the
computer networks of Filing Agent 1 and Filing Agent 2 using stolen employee log-in credentials,
and to view and download the financial disclosures of hundreds of publicly traded companies,
including quarterly and annual reports that had not yet been filed with the SEC or disclosed to the
public. Armed with these reports, which contained material non-public information, the
defendants further conspired to enrich themselves by trading in the securities of those companies.
Through this scheme, the defendants earned tens of millions of dollars in illegal profits.

Objects and Purposes of the Conspiracy

12. The objects of the conspiracy were to gain unauthorized access to computers with
intent to defraud, and to commit wire fraud and securities fraud. The principal purposes of the
conspiracy were (1) to obtain material non-public information about the financial performance of
publicly traded companies, (2) to enrich the conspirators by trading securities on the basis of that
information, and (3) to conceal the conspirators’ actions from their victims, securities regulators

and law enforcement.
Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 5 of 18

HIGHLY SENSITIVE DOCUMENT

Manner and Means of the Conspiracy and the Scheme to Defraud

13. Among the manner and means by which the defendants, IRZAK and SLADKOV,

CC-1, and others known and unknown to the Grand Jury carried out the conspiracy and the scheme

to defraud were the following:

a,

obtaining unauthorized access to the computer networks of Filing Agent 1
and Filing Agent 2;

deploying malicious infrastructure capable of harvesting employees’
usernames and passwords;

using stolen usernames and passwords to misrepresent themselves as
employees of Filing Agent 1 and Filing Agent 2 in order to gain access to
the filing agents’ computer networks;

leasing proxy (or intermediary) computer networks outside of Russia that
obscured the origin of their attacks;

subscribing to email addresses and payment systems used in furtherance of
the attacks in others’ names;

once inside the filing agents’ networks, viewing and downloading material,
non-public financial information—including quarterly and annual earnings
reports that had not yet been filed with the SEC or disclosed to the general
public—of hundreds of companies that are publicly traded on U.S. national

securities exchanges, including the NASDAQ and the NYSE, and
Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 6 of 18

HIGHLY SENSITIVE DOCUMENT
g. trading in the securities of those companies while in possession of material,
non-public information concerning their financial performance, including
by purchasing securities of companies that were about to disclose positive
financial results, and selling short securities of companies that were about
to disclose negative financial results.
Overt Acts in Furtherance of the Conspiracy

14. Beginning at least as early as February 2018 and continuing through at least
September 2020, the defendants, IRZAK and SLADKOV, CC-1, and others known and unknown
to the Grand Jury committed and caused to be committed the following overt acts, among others,
in furtherance of the conspiracy:

15. Onor about February 5, 2018, CC-1 or another conspirator used the username and
password of an employee of Filing Agent 2 (the FA 2 Employee Credentials) to gain unauthorized
access to the company’s computer network and to access earnings-related information of Snap,
Inc., a company that is publicly traded on the NYSE. The information included a press release
announcing Snap’s fourth quarter and full year 2017 financial results that had not yet been filed
with the SEC or publicly disclosed.

16. On or about February 6, 2018, SLADKOV viewed the Snap earnings release on his
computer screen at approximately 8:13 am. (ET), more than eight hours before the results were
filed with the SEC or publicly disclosed.

17.  Onor about the morning of July 24, 2018, CC-1 or another conspirator used the FA
2 Employee Credentials to gain unauthorized access to the computer network of Filing Agent 2

6
Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 7 of 18

HIGHLY SENSITIVE DOCUMENT
and to view earnings-related files of seven publicly traded companies: Grubhub, Inc., Patterson-
UTI Energy, Inc., Ultra Clean Holdings, Inc., CNH Industrial N.V., Getty Realty Corp., Essendant,
Inc., and The Nielsen Company, all of which reported their quarterly earnings over the following
two days.

18. Later that same day—one day before Grubhub reported second quarter financial
results that exceeded market expectations—IRZAK or SLADKOV purchased 1,700 Grubhub
contracts for difference (CFDs) in the account in IRZAK’s name at Financial Services Company
B. CFDs are a type of security that allow traders to participate in the price movement of U.S.
stocks without actually owning the underlying shares.

19. Likewise, on or about July 25, 2018—one day before The Nielsen Company
reported second quarter financial results that missed market estimates—IRZAK or SLADKOV
sold short 8,500 CFDs in The Nielsen Company in the account at Financial Services Company B.

20. SLADKOV also placed trades in each of the seven companies in one ofhis accounts
at Financial Services Company C before any of the companies publicly disclosed their second
quarter financial results.

Phe On or about October 22, 2018, CC-1 or another conspirator used the FA 2
Employee Credentials to gain unauthorized access to the computer network of Filing Agent 2
through an IP address hosted at a data center located in Boston, Massachusetts and to view the
quarterly financial results of Capstead Mortgage Corp. (Capstead), the securities of which are
publicly traded on the NYSE. The Capstead results had not yet been filed with the SEC or

publicly disclosed.
Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 8 of 18

HIGHLY SENSITIVE DOCUMENT

22. On or about October 24, 2018—shortly before Capstead publicly disclosed
financial results that fell short of market expectations—IRZAK shorted 5,000 shares of Capstead
in his account at Financial Services Company A.

23, On or about October 24, 2018, CC-1 or another conspirator used the FA 2
Employee Credentials to gain unauthorized access to the computer network of Filing Agent 2 via
another Boston IP address and to view the quarterly financial results of Tesla, Inc. (Tesla), the
securities of which are publicly traded on the NASDAQ.

24. On or about that same day, before Tesla publicly disclosed positive quarterly
earnings results, IRZAK purchased 200 shares of Tesla in his account at Financial Services
Company A, and IRZAK or SLADKOV purchased Tesla CFDs in the account at Financial
Services Company B.

ao. On or about February 25, 2019 and February 26, 2019, CC-1 or another conspirator
used the FA 2 Employee Credentials to gain unauthorized access to the computer network of Filing
Agent 2 and to view the quarterly financial results of Tandem Diabetes Care (Tandem), which had
not yet been filed with the SEC or publicly disclosed.

26.  Onorabout those same days, before Tandem announced positive fourth quarter and
full-year 2018 financial results after the close of the market on February 26, 2019:

a. SLADKOV purchased 33,000 shares of Tandem in one of his accounts at
Financial Services Company C;
b. IRZAK purchased 2,000 shares of Tandem in his account at Financial Services

Company A; and
Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 9 of 18

HIGHLY SENSITIVE DOCUMENT

c. IRZAK or SLADKOV purchased 2,000 Tandem CFDs in the account at

Financial Services Company B,

27. On or about May 20, 2019, between 8:28 a.m. and 8:30 a.m. (ET), CC-] or another
conspirator used the FA 2 Employee Credentials to gain unauthorized access to the computer
network of Filing Agent 2 and to view the quarterly financial results of Kohl’s Corp.

28. Beginning at 9:50 a.m. (ET) that same day, SLADKOV opened a short position in
Kohl’s in one of his accounts at Financial Services Company C.

29. Beginning at approximately 10:01 a.m. (ET) that same day, IRZAK opened a short
position in Kohl’s in his account at Financial Services Company A.

30. At or about the same time, IRZAK or SLADKOV also opened a short position in
Kohl’s in the account at Financial Services Company B.

31. On or about the following day, May 21, 2019, after Kohl’s publicly announced
financial results that fell below analyst expectations, prompting its share price to fall, IRZAK
covered his short position at Financial Services Company A, earning an overnight profit of
approximately $41,000.

32. Likewise, IRZAK or SLADKOV covered the short position at Financial Services
Company B, earning an overnight profit of approximately $29,000.

33. SLADKOV also covered his short position at Financial Services Company C,
earning an overnight profit of approximately $400,000.

34, That same day, SLADKOV and CC-1 shared screenshots showing Kohl’s share

prices,
Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 10 of 18

HIGHLY SENSITIVE DOCUMENT

35. On or about July 28, 2019 and July 29, 2019, CC-1 or another conspirator used the

FA 2 Employee Credentials to gain unauthorized access to the computer network of Filing Agent
2 and to view earnings-related files of SS&C Technologies, Inc. (SSNC), the securities of which
are publicly traded on the NASDAQ.

36. On or about July 29, 2019, shortly before SSNC reported second quarter financial
results and lowered its profit forecast:

a. IRZAK shorted 10,000 SSNC shares in his account at Financial Services
Company A;

b. IRZAK or SLADKOV shorted 16,000 CFDs in SSNC im the account at
Financial Services Company B; and

c. SLADKOV shorted 179,739 SSNC shares in one of his accounts at Financial
Services Company C.

37. | Onorabout May 27, 2020, CC-1 or another conspirator gained unauthorized access
to the computer network of Filing Agent 2 and viewed earnings-related files of Box, Inc., the
securities of which are publicly traded on the NYSE.

38. Later that same day, IRZAK purchased approximately 20,000 Box shares in his
account at Financial Services Company A.

39. At approximately 3:47 p.m. (ET)—shortly before Box reported quarterly earnings
and revenue that exceeded market estimates—SLADKOV shared a screenshot with a
representative of Financial Services Company C showing trading activity in Box in one of his
accounts.

10
Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 11 of 18

HIGHLY SENSITIVE DOCUMENT

COUNT ONE
Conspiracy to Gain Unauthorized Access to Computers,
and to Commit Wire Fraud and Securities Fraud
(18 U.S.C. § 371)

The Grand Jury charges:
40. The Grand Jury re-alleges and incorporates by reference paragraphs 1 through 39
of this Indictment.
41. From in or about at least February 2018 through in or about at least September
2020, in the District of Massachusetts and elsewhere, the defendants,
MIKHAIL VLADIMIROVICH IRZAK,
a/k/a “Mikka Irzak,”
and
IGOR SERGEEVICH SLADKOV,
conspired with one another, with CC-1, and with others known and unknown to the Grand Jury to
commit offenses against the United States, to wit:
a. computer intrusion, in violation of Title 18, United States Code, Section
1030(a)(4), that is, to knowingly access a protected computer without
authorization, with intent to defraud, and by means of such conduct to
further the intended fraud and obtain a thing of value;
bk wire fraud, in violation of Title 18, United States Code, Section 1343, that
is, having devised and intending to devise a scheme and artifice to defraud
and to obtain money and property by means of materially false and
fraudulent pretenses, representations and promises, to transmit and cause to

be transmitted by means of wire communications in interstate and foreign

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Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 12 of 18

HIGHLY SENSITIVE DOCUMENT

commerce, writings, signs, signals, pictures and sounds for the purpose of
executing the scheme to defraud; and

é. securities fraud, in violation of Title 15, United States Code, Sections 78)(b)
and 78ff(a), and Title 17, Code of Federal Regulations, Section 240.10b-5,
that is, knowingly and willfully, by the use of means and instrumentalities
of interstate commerce, the mails, and the facilities of a national securities
exchange, directly and indirectly to use and employ manipulative and
deceptive devices and contrivances in connection with the purchase and sale
of securities, in contravention of Rule 10b-5 of the Rules and Regulations
promulgated by the United States Securities and Exchange Commission,
by: (a) employing devices, schemes and artifices to defraud; (b) making
untrue statements of material facts and omitting to state material facts
necessary in order to make the statements made, in light of circumstances
under which they were made, not misleading; and (c) engaging in acts,
practices and courses of business which would and did operate as a fraud
and deceit in connection with the purchase and sale of securities.

All in violation of Title 18, United States Code, Section 371.

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Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 13 of 18

HIGHLY SENSITIVE DOCUMENT
COUNT TWO
Securities Fraud; Aiding and Abetting
(15 U.S.C. §§ 78j(b) and 78ff(a); 17 C.F.R. § 240.10b 5; 18 U.S.C. § 2)

The Grand Jury further charges:

42. The Grand Jury re-alleges and incorporates by reference paragraphs 1 through 39
of this Indictment and further charges that:

43. On various dates between on or about February 5, 2018 and on or about January
23, 2020, in the District of Massachusetts and elsewhere, the defendants,

MIKHAIL VLADIMIROVICH IRZAK,
a/k/a “Mikka Irzak,”
and
IGOR SERGEEVICH SLADKOV,

together with others known and unknown to the Grand Jury, did knowingly and willfully, by the
use of means and instrumentalities of interstate commerce, the mails, and the facilities of national
securities exchanges, directly and indirectly use and employ manipulative and deceptive devices
and contrivances in connection with the purchase and sale of securities in contravention of Rule
10b-5 (17 C.F.R. § 240.10b-5) of the Rules and Regulations promulgated by the United States
Securities and Exchange Commission, and did (a) employ a device, scheme and artifice to defraud,
(b) make untrue statements of material facts and omit to state material facts necessary in order to
make the statements made, in light of circumstances under which they were made, not misleading,
and (c) engage in acts, practices and a course of business which would and did operate as a fraud

and deceit, in connection with the purchase and sale of securities, specifically, the securities of

publicly traded companies that were clients of Filing Agent 2.

13
Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 14 of 18

HIGHLY SENSITIVE DOCUMENT
All in violation of Title 15, United States Code, Sections 78j(b) & 78ff(a); Title 17, Code

of Federal Regulations, Section 240.10b-5; and Title 18, United States Code, Section 2.

14
Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 15 of 18

HIGHLY SENSITIVE DOCUMENT

FORFEITURE ALLEGATION
(18 U.S.C. § 981(a)(I(C) & 28 U.S.C. § 2461(c))

44. Upon conviction of one or more of the offenses charged in Counts One and Two of
this Indictment, the defendants,
MIKHAIL VLADIMIROVICH IRZAK,
a/k/a “Mikka Irzak,”
and
IGOR SERGEEVICH SLADKOV,
shall forfeit to the United States pursuant to Title 18, United States Code, Section 981{a)(1)(C)
and Title 28, United States Code, Section 2461(c), any property, real or personal, which
constitutes or is derived from proceeds traceable to such offenses.

45.  Ifany of the property described in paragraph 44 above, as being forfeitable pursuant
to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United States Code, Section
2461(c), as a result of any act or omission by the defendants,

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third patty;
c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided without
difficulty,
it is the intention of the United States, pursuant to Title 28, United States Code, Section 2461(c),
incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other property
of the defendants up to the value of the property described in paragraph 44 above.

15
Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 16 of 18

HIGHLY SENSITIVE DOCUMENT

All pursuant to Title 18, United States Code, Section 981(a}(1}(C) and Title 28, United

States Code, Section 2461 (c).

16
Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 17 of 18

HIGHLY SENSITIVE DOCUMENT

COMPUTER INTRUSION FORFEITURE ALLEGATION
(18 U.S.C. §§ 982(a)(2)(B) & 1030(i))

46. Upon conviction of the offense in violation of Title 18, United States Code,
Sections 371 and 1030(a), set forth in Count One, the defendants,
MIKHAIL VLADIMIROVICH IRZAK,
a/k/a “Mikka Irzak,”
and
IGOR SERGEEVICH SLADKOV,
shall forfeit to the United States, pursuant to Title 18, United States Code, Section 982(a)(2)(B)
and 1030(), any property constituting or derived from any proceeds obtained, directly or
indirectly, as a result of such offenses; and, pursuant to Title 18, United States Code, Section
1030(i), any personal property used, or intended to be used, to commit, or to facilitate the
commission of, such offenses and any property, real or personal, constituting or derived from any
proceeds obtained, directly or indirectly, as a result of such offenses.

47. If any of the property described in Paragraph 46, above, as being forfeitable
pursuant to Title 18, United States Code, Sections 982(a)(2)(B) and 1030(), as a result of any act
or omission of the defendants --

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c, has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be divided without
difficulty;

it is the intention of the Uniied States, pursuant to Title 18, United States Code, Sections 982(b)(2)

and 1030(i)(2), each incorporating Title 21, United States Code, Section 853(p), to seek forfeiture
Case 1:21-cr-10146-NMG Document 8 Filed 05/06/21 Page 18 of 18

HIGHLY SENSITIVE DOCUMENT
of any other property of the defendants up to the value of the property described in Paragraph 46
above.

All pursuant to Title 18, United States Code, Sections 982(a)(2)(B) and 1030(i).

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SETH B. VEER

ASSISTANT UNITED STATES ATTORNEYS
DISTRICT OF MASSACHUSETTS

District of Massachusetts: May 6, 2021
Returned into the District Court by the Grand Jurors and filed.

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18
